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CIRCU]T COURT FOR BALTIMORE CITY, MARYIAND

BRIAN J. CASEY
SH`ERYL A. CASEY

lndw:dualty ama on sewing
Class of Simifar!y Simared Persons

Plainti&'s
V.
Case No.
LI'I'I`ON LOAN SERVICING LP
2711 Centerville R.oad, Suite 400
Wilmington, DE 19808

SERVE ON:

CSC~Lawyers Incorporating Servioe
Company, R.esident Agent

7 St. Paul Street, Suite 1660

Baltimore, MD 21202

Counter Defendant

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COMPLAIN'I`
AND

EMAND OR JU'RY TRIAL

Brian l. and Sheryl A. Casey (“Named Plairrt.i.‘Es” or “the Caseys”), individually
and on behalf of a class of people similarly situated, hereby sue Litton Loan Serv'icing LF
{“Defendant” or “Littoo”) and for cause state:

1. The Defendsnt has filed and prosecuted illegal foreclosure actions against the
Named Plaintiffs and class members ’I`he actions are illegal because papers HIed
in the foreclosures are “robo-signed” and fraudulent; or because the foreclosures
violate the mandatory legal requirements of Maryland’s foreclosure laws and

rules of procedure

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2. Plainti£r`s are members and representatives of the “Class” (as denned in 1[ 63
berow) which consists ofMaryland residents am Liaon, waugh irs authorized
attorneys and!or Substitute Trustees in Maryland initiated foreclosure proceedings
against Plaintift`s by using improper and deceptive papers which were mbc-signed
and false_in other words what the papers submitted by Litton’s agents to
Maryland courts were not what they purported to be and were frauds on the court.

3. Plaintitl`s have also been harmed by Litton individually by failing to provide
Plaintiffs with (i) prompt and accurate accountings of the amount owed when
sought from Defendant, (ii) timely information of their loss mitigation options and
services offered by the Defendant before the commencement of the foreclosure
actionj or (iii) failed to provide loss mitigation when possible.

4. 'I`he systemic problems identified herein are equally troubling since Litton has
received an infusion of govemment cash from eaxpayets, like the Caseys, to
provide incentives to participate in the Maldng Home Ai`fordable Program of the
U.S. Treasury Department. Upon information and belief the taxpayers’ presently
have paid more than a $33 million stake in Litton through incentive payments
paid by the U.S. Deparlment of Treasury. This belief is based upon public reports
made to Congness found at ://Ww.treas . ov ini ' yes/financial-
stabiliggbrie@g»

mom/regardsos/Docmnenrnosmecembertos%zsa%zs°/ozorggmc mm 1,2

snif-
5. These unfair and deceptive acts by Litton constitute violations of the MARYLAND

CoNsUME,R PRorscrIoN Acr (“MCI’A”), MARYLAND CoNsuMaa Daa'r

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Co:.z.acrroN Acr (“MDCDCA”), MARYLAM.') Moarcaos FRAUD PRavEN'rIoN
ACT (“MMFP ") and the common law ofMa.ryland.
JURISDIC’I‘ION & VENUE

 

6. This court has jurisdiction in this proceeding pursuant to MD. ANN. CODE, CTS. &
JuD. Paoc. § 1-501.

7.' Venue in this Court is appropriate since Defendant routinely initiates, through its
network of authorized attorneys or Substitute 'I'rustees, foreclosure actions against
Maryland homeowners, including the Caseys, in this Court. MD. ANN. CODE,
Crs. & lun. PRoc. § 6-201.

8. Venue in this Court is also appropriate since the claims arise out of dealings
concerning real property located at 407 Cedarcroh Road, Baltirnore, Marytand.
Mo. ANN. Cona, Crs. & Jun. Paoc. §§ 6~201 -- 6-204.

ARTIES

9. Brian J. and Sheryl A. Casey are residents of the State ofMaryland and the
owners of the real property commonly known as 407 Cedarcroft Road, Baltimore,
Maryland (“the Property”).

10. Defendant Litton Loan Serv'ieing LP (“Litton") is a foreign limited partnership

' from the State of Delaware registered to do business in the State of Maryiand and
with corporate oHices located at 2711 Centerville Road, Suite 400, Wiimington,
DE 19808 and 4828 Loop Cenua] Drive, Suite 600, Houstou, TX, 77081. Litton
is licensed as a mortgage lender/servicer by Maryland’s Cornmissioner cf
Financial Regulation at the Department of Labor, Licensing, and Regulatiou
(License plumbers 14239, 18408, and 14263).

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FACTS
A. TIIE FORECLOSURE CRISIS

t l. Over the last four years, Maryland and the United States has been in a foreclosure
crisis Recent news reports have estabiished that one in ten American homes is at
risk of foreclostn'e.

12. The number 'of Maryland properties with foreclosure filings in has increased
substantially throughout the last four years.

13. Increased foreclosures have a detrimental effect not just on the borrowers who
lose unique property and face homelessness, but also on the surrounding
neighborhoods that suffer decreased property values and municipalities that lose
tax revenoe.

14. The foreclosure crisis is not over. Eeonotnists predict that interest rate resets on
the riskiest of lending products will not reach their zenith until sometime in 2011.
See Eric Tymoigne, Se'ctuitization, Deregulation, Economic Stability, and
Financial Crisis, Working Paper No. 573.2 at 9, Figurc 30 available at
http://papers.ssrn.eozn!sol3/papers.ctin?abstmct__id==1458413 (citing a Credit
Suisse study showing monthly mortgage rate resets}.

15. Since the commencement of the crisis, revelations of bogus, false, and deceptive
“robo signing” have come to light involving national lenders and mortgage
servicers. In Maryland the illegal “roho-signing" issue has even come to the
forefront because attorneys and substitute trustees, including those acting on

behalf of Litton in the Caseys’ illegal foreclosure action (discussed below) have

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admitted that they filed bogus documents in hundreds of foreclosure cases filed in
state courts n
16. On or about Novclher 7, 2008, Governor Martin O’Mailey entered an agreement
_ with Litton which became part of the solution for distressed homeowners in
Maryland. The agreement requires Litton to promptly respond to homeowners
seeking information about their mortgage accounts In the agreement, Litton
agreed to atirne line for loss mitigation including but not limited to
acknowledging receipt cfa loss mitigation package Within Eve (5) days of receipt,
confirming that the package is complete within ten (IO) days of admowledging its
receipt, and making a decision regarding the nature and extent ofloss mitigation
with sixty (60) days.
B. MARYLAND’S RESPONSE ’I'O 'l'HE FORECLOSURE CRISIS

17. In 2007 at the beginning of the crisis, Governor O’Malley convened a task force
of representatives to address the crisis that was then underway. The Maryland
Maryland Horneownership Preservation 'l'ask Force produced a report which aptly
summarized the devastating effect of foreclosures on the community as follows:

Foreciosures have a devastating effect on homeowners and the
communities in which they live. Frequently, a homeowner who loses his
or her home to foreclosure loses the seemed equity. A property sold in a
foreclosin'e sale typically draws a lower price than it would in a regular
market saie. In the first half of 2005, Maryla.nd’s “fcreclosurc discount”
was 18.8 percent, according the St. Atnbrose I-Iousing Aid Center, Inc.
This is a tragedy for a growing number of Maryl.and families

Extensive damage is felt in neighborhoods and communities across
Maryland. Research shows that with every foreclosure on a single family
home, the value of homes within an eighth of a mile declines by about
nine-tenths of a percent Property tax revenues decline proportionaliy,
causing a negative impact on state and local governments A study of

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foreclosures in Chicago in 2005 estimated that a single foreclosure costs
city government up to $5,000 or mor’e.

Foreclosures also bring with them the potential for more violent crime
R.esearch indicates that for every single percentage point increase in the
foreclosure rate in a neighborhood violent crime in that neighborhood
increases by about two percent Foneclosures can lead to vacant or
neglected properties, which create an eyesore and become targets for
vandalism. This can tip a community from one dominated by
homeowners to one dominated by investors

Of course, the lending industry and investors also take -a hit from rising
foreclosure rates. Some major lenders have closed their doors, declared
bankruptcy or shuttered their subprime lending arms as a result of thc
warring demand for risky mortgage products in investor markets Lenders
typically lose $50,000 or more orr a single foreclosure according to
information nom St. Ambrose Housing Aid Center, Inc. The banking
industry cites a figure well over $60,000.

Maryland Homeownership Preservation Task Force Report at 12 (Novernber 29,
2007) available at
http:lfwww.gov.state.md.us!docmnemsdiome?mervadonkcpon.pdf (fcotnotes

omitted).

18. To reasonably address and avoid some of the negative consequences of
foreclosure, the 'I`aslr Force Report made nine general recommendations that are
relevant to the issues before the Court. See Id. at 40-43. included among these
was a specific reconrmendation, which included the adoption cfa good faith and
fair dealing standard of care for Maryland licensed mortgage entities Id
(recornmendation 7.3).

19. In response to the expanding foreclosure crisis and the Task I-`orce R.eport, the
General Assembly introduced and passed several hills during the 2008 legislative

session to change Maryland’s foreclosure process and crn'b certain predatory real

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estate processes 'I'hcse bills were passed with nearly complete lsi-partisan
support. As summarized in the General Assembly’s 90 Day Report for the 2008
session:

Until [2008], Maryland‘s foreclosure process, from the §rst foreclosure
filing to final sale, had been among the shortest in the nation Maryland is
a quasi-judicial State, meaning that the authority for a foreclosure sale is
derived from the mortgage or deed of trust, but a court has oversight over
the foreclosure sale process. Most mortgages or deeds of trust include a
“power of sale" (a provision authorizing a foreclosure sale of the property
after a default) or an “assent to decree” (a provision declaring an assent to
the entry of an order for a foreclosure sale after a default). Under the
Maryland Rules, it was not necessary to serve process or hold a hearing
prior to a foreclosure sale pursuant to a power of sale or an assent to a
decree. Consmner advocates contended that the short timeframes and
weak notice provisions in State law seriously limited a homeowner‘s
options to avoid foreclosure by, for example, working out a payment plan
with the lender or selling the house. ln addition, filing a request for an
injunction to stop the sale is expensive, time consuming, and not a
realistic option for most homeowners

Senate Bili 216 {Ch, }}/House Bil! 365 (Ch. 2), emergency legislation
that took e&`ect April 4, 2008, make a number of significant changes to
the foreclosure process in Maryland for residential real property.
“Residential property" is defined under the Aets to mean real property
improved by four or fewer single-family dwelling units. Except under
specified eircumstances, the Acts prohibit the filing of an action to
foreclose a mortgage or deed of trust on residential property until the later
of 90 days alter a default in a condition on which the mortgage or deed of
trust states that a sale may be made or 45 days after the notice of intent to
foreclose required under the Acts is sent.

Semzte Bil! 217/flaum Bi!l 360 define “mortgage fraud" as any action by
a person made with the intent to defraud that involves:

~ knowingly making, using, or facilitating the use of any deliberate
misstatement misrepresentation or omission during the mortgage
lending process with the intent that it will be relied upon by a mortgage
lender, borrower, or any other party to the lending process;

- receiving any proceeds or any other funds in connection with a
mortgage closing that the person knows resulted nom the aforementioned
actions;

- conspiring to violate either of the preceding provisions; or

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' filing or causing to be filed in the land records in the county where a
residential real property is located any document relating to a mortgage
loan that the person knows to contain a deliberate misstatementl
misrepresentation1 or omission

Under the Acts, the ‘&nortgage lending process” includes the soiicitation,
application, origination, negotiation, servicing, underwriting signing,
closing, and funding of a mortgage loan, as well as the notarizing of any
document in connection with a mortgage loan.

Md. Dept. of Legislaiive Services, The 90 Day Report, A Rcview of the 2008
Legislative Session, FlG-IS (April ll, 2008) available at

http:I/mlis.state.md.us!2008rsf90-Day-report!index.htm.

20. The Maryland Court of Appcals recently adopted in October 2010 an emergency
rule to deal with the robo»signing issue based upon the recommendation of the
Standing Committee on Rules of Practice and Procedure. Writing for the
Committee the Honorable Alan M. Wilner explained:

The need for these changes emanates from recent revelations regarding the
Hling in residential foreclosure actions of aflidavits as to which the affiant
either did not have su)§cient knowledge of thc facts started in the a$davit
to validly attest to their accuracy or did not actually read or personally
sign the afHdavit. Preli.minary audits have shown that hundreds of such
aliidavits have been filed in Maryland circuit eotu'ts. Up to this point,
courts, with good reason and really of necessity, have relied on the
accuracy of affidavits especially when filed by attorneys, unless there is
something on the face of the document to suggest otherwise or the validity
of the affidavit is challenged Bvidence that has recently come to light,
largely through admissions under oath by the affiants themselves, has
shaken the confidence that the courts have traditionally given to those
kinds ofafiidavits.

ln the Committee’s view, the use of bogus affidavits to support actions to
foreclose liens on property, apart from prejudice to the homeowners
constitutes an assault on the integrity of the judicial process itself

Letter from A. Wilner to the Court of Appea.ls, Oct. 15, 2010.

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21. In further response to the foreclosure crisis, Maryland Commissioner of Financial
Regulation required for its licensees, including Lit'ton, “a duty of good faith and
fair dealing in communications transactions and course of dealings with a
borrower in connection with the. ..servicing. . .of any mortgage loan, including,
but not limited to. . .(3) The duty when servicing mortgage loans to: (a) Promptly
provide borrowers with an accurate accounting of the debt owed when borrowers
req\iest an accounting; (b) Make borrowers in default aware cf loss mitigation
options and services offered by the licensee; (c) Provide trained personnel and
telephone facilities sufficient to promptly answer and respond to borrower
inquiries regarding their mortgage loans; and (d) Pursue loss mitigation when
possible.” Md. Code Regs. 09.03.06.20.

22. Upon information and belief, part or all of the compensation paid by Litton,
directly and indirectly, to .laeob Geesing, Howard Bierrnan, and Carrie Ward
(collectively “BGW”) to act as its authorized substitute trustees and attorneys is
contingent upon how rapid or quickly BGW conducts the foreclosure action. The
faster BGW processes foreclosures for Litton, the higher the compensation and!or
the greater number of referrals)'§.lture business sent to BGW by Litton. This
payment arrangement leads directly and indirectly to the ixnproper, deceptive, and
bogus papers, aflidavits, and other documents in BGW’s foreclosure actions on
behalfof Litton, including this action against the Caseys, which are not in
conformance with Maryland law.

C. BACKGROUND ON THE NAMED PLA]NTIFFS

23. At all times relevant to this complaint, the Caseys have lived ar the Property.

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24. ln mid-April 2008, the servicing rights of the Ca.seys’ mortgage were transferred
from Frernont to Litton.

25. During the summer of 2009, the Caseys could not co~sign or borrow for a Federal
Parcnt Plus loan for their daughter’s college education tuition at Roanolce College
due to the improper foreclosure action commenced against them by Litton’s
authorized Substitute Trustccs/Attomeys.

26. On or about June 5, 2009, the Caseys sent Litton a letter stating Litton’s violations
of Maryland Regulation § 09.03.06.13 and requesting amolution to their
situation-i.e. a correct credit of the payments made on the loan.

27. On or about June 17, 2009, the Caseys, through counsel, sent a letter to Noel
Comtell at Litton. The letter requested an explanation of charges to the Caseys’
mortgage account and an answer to the Caseys’ proposal contained in the letter
dated April 10, 2009.

28. ln .Tuly 2009,the Caseys sent a letterto Litton demanding a copy of all account
records involving the Caseys, an accounting and refund of any sums debited from
their escrow or suspense accounts to pay for force placed insurance, a loan
modification that reduces the periodic annual interest rate to six point live percent
(6.5%) payable, any steps necessary to purge delinquency reports on the Caseys’
credit histories with the three (3) major credit reporting agencies or a letter of
explanation from Litton which states unequivocally that the delinquency reports

arose during and as a result of an investigation of disputed payment defaults and
that the Caseys have brought the obligation current as of the date of the letber, a

dismissal in the foreclosure proceeding pending in Baltirnore City Circuit Court at

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no cost to the Caseys, payment of legal fees spent by the Caseys’ counsel to
investigate and resolve this matter, an acceptance of a payment of $31,519.74,
which represents 14 monthly payments on the loan at the effective rate of six
point five percent (6.5%) payable, in order to bring the loan current through the
end of July 2009, and that these matters be addressed by L`rtton within 20 days
after the date of this letter.

29. On or about July 6, 2009, the Caseys, through counsel, santa letter to Noel
Connell at Litton. The letter requested an explanation of charges to the Caseys’
mortgage account and reiterated the Caseys’ proposal contained in the letter dated
April 10, 2009.

30. On or about July 28, 2009, Litton finally attempted to issue to the Caseys a full
accounting of the Caseys' loan payment history. The letter also stated falsely that
the Caseys’ bank records did not establish payment of their mortgage during the
disputed months and that Litton will not make adjustments to the credit reporting
agencies

31. ln August 2009, Litton reinstituted the improper foreclosure proceedings against
the Caseys and the Property through BGW.

32. Not known or apparent to the Caseys until October 2010 when public revelations
of BGW became knownl Litton had actually iiled, through BGW, a bogus Order
to Docket in the Circuit Court of Baltimore City, Maryland. See Ethibz't I.

33. Through its authorized attorneys BGW, Litton authorized the foreclosure case as a
consent decree foreclosure action against the Caseys in this Court. A consent

decree foreclosure under the Maryland Rules permits a bona tide secured party to

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commence a foreclosure action without having to proceed through a longer
judicial process Essentially, the state cmn't entrusts to certain Mernbers of the
Bar acting as officers of the Colnt and substitute trustees for secured parties, the
responsibility to comply with certain mandatory prerequisites on behalf of the
Court-»thereby assuming substantial responsibilities from the state court clerks
and judges 1a this case, BGW did not act within that scope ofauthority.

As part ofthe Order to Docket papers Eled with the Court in the foreclosure
action authorized by Litton against the Caseys, the Aiiidavit of Deed of Trust
Debt, Certitication Regarding Debt lnstrument, Certitication of Deed of
Appoinnnent of Substitute Trustee, and Affidavit ofNon-Militz.ry Service in the
Order to Docket were purportedly signed with the name “.lacob Geesiog” (as an
authorized agent of Litton) but in fact were not signed by him. 'I`bis belief is
based on signature purporting to be Jacob Geesing’s actual signature See Exhibit
2; June 28, 2002 Dwd of Trust executed by Gecsing on a Maryland property
located at 6400 East Halbert Road, Bethesda, Maryland.

Included among the bogus Order to Docket filed by Litton's representatives

against the Caseys were also an Aflidavit of Deed ofTrust Debt, Certilication

regarding Debt newman ana Arssavi¢ ofN@n-Misary service in the order w `

Docket were allegedly notati:aed by Rodnita Moulton (“Moulton”}.

On or about August ll, 2009, the Caseys received notice cfa scheduled sale date
of August 28, 2009.

On or about August 13, 2009, the Caseys through counsel sent a letter to Iacob

Geesing (“Geesing”) requesting the dismissal of the foreclosure action and

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notifying Geesing of the Caseys intent to tile a Motion to Stay and Dismiss
pursuant to Maryland Rule 14-211.

38. On or about August 17, 2009, the Caseys sent a letter to Matthew Cohen notifying
him of the Caseys intent to tile a Motion to Stay and Disrniss pursuant to
Maryland Rule 14-211.

39. On or about August 18, 2009, the Caseys sent a letter via entail to Matthew Cohen
notifying him of the Caseys intent to file a Motion to Stay and Dismiss pursuant
to Maryland Rule 14~211. On the same day, Litton requested that the Caseys not
tile their Emergency Rnle lit-211 Motion to Stay and Dismiss the Action and
asked them to provide the cancelled checks or other proof of receipt of the
disputed payments and proof of any sums in escrow. ln remm, Litton promised to
postpone the sale for 30 days and waive the right to argue untimeliness of the
motion.

40. On or about August 19, 2009, the Caseys tiled a Motion to Stay the Foreolosure
Proceedings and Dismiss the Act:ion_

41. On or about August 24, 2009, Litton provided another incomplete payment
history of the Ceseys’ loan via email.

42. On or about August 27, 2009, a judicial order was issued providing a stay of the
sale of the property, ordering mediation, and scheduling a hearing for the Motion
to Stay and Dismiss the Action.

43. On or about September 9, 2009, the Caseys received discovery requests from
Litton. In addition, Litton requested to appear at mediation via telephone

44. On or about September 16, 2009, the Caseys received requests H'om Litton that

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they send copies of their most recent pay stubs, bank statements tax returns, and
documentation of disputed payments These documents were timeiy sent to
Litton by the Caseys.

45. ln October 2009, the Caseys received requests fi~om Litton for additional
information at least three (3) times and each time they submitted the requested
documents via email.

46. During November and December of 2009, the Caseys received requests from
Litton for additional infonnation at least live (5) times including requesting
information about a company in which the Caseys had no ownership interestl

47. On or about .lanuary 31, 2010, the Ca.seys received a denial cfa loan modification
nom Litton via email.

48. However, just four days later on or about Fcbruary 3, 2010, the Caseys received a
notiEcau'on that Litton is willing to reconsider a loan modifcation if the Caseys
provide two {2) recent pay stubs which the Caseys could not provide in as much
as Brian Casey was/is self-employed and Sheryl Casey was/is unemployed

49..0:1 or about February 5, 2010, the Caseys requested that Litton issue a statement
of credit denial to the Caseys. Litton has never issued a statement of credit denial.

50. On or about Febl'uary 12, 2010, the Caseys received a request ibm Litton for
additional information The Caseys sent Litton Brian Casey’s profit and loss
statement via email.

51. On or about Mareh 26, 2010, the Caseys requested an update on the status of the
loan modiiication from Litton.

52. On or about May 21, 2010, the Caseys sent a letter to Lan'y Litton outlining the

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dispute, offering to make payments for the time period of Iune 2008 to lone 2010
based on the Regal loan commitmentl and requesting a loan modification, waiver
of all late fess and legal eharges, a letterto all three major credit reporting
agencies correcting the damage to the Caseys' eredit, payment of the Caseys’
legal fees, and a`full and accurate accounting of the Caseys’ loan account since
inception noting all adjustments including the insurance escrow adjustments

53. On or about June 10, 2010, Littcn, through counsel, confirmed that it was
reviewing the loan tile.

54. On or about .¥une 16, 2010, Sarala Chhetri, Financial Exarniner at the State of
Maryland Department of Labor, Liceosing, and Regulation confirmed receipth
the Ceseys’ complaint regarding Litton.

55 . On or about June IS, 2010, Litton issued aNotice of Intent to Foreclose on the
Property.

56. On or about August 9, 2010, the Caseys, through eounsel, sent a letterto Toby
Gailegos and Donna Ma:n'e .iendritzn at Litton seeking to resolve the dispute. No
response was ever provided by Litton.

57. Ou or about Novernber 2, 2010, the Caseys received a letter from Titaniurn
Solutioos (“Titanium”) on behalf of Litton stating that there are possible options
to preserve the home. In addition the letter states that a Titanium representative
will be calling to assist in completing a phone call to Litton andfor set up an
appointment to discuss documents still needed by Litton to complete the loan
modification application

58. On or about August 5, 2010, the Maryland Oiiice of the Seereta.t'y of State

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59.

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decommissioned Moulton’s notary commission because it was disclosed that she
had participated in the false notariw,tions at BGW.

On or about October 22, 2010, Geesing filed a Substitute Trustees’ Verified
Response in Opposition to Defendents’ Emergency Request for Consideration of
Defendants’ Renewa| of Veri§ed Mou`on to Dismiss Plnintiffs’ Foreoiosure
Action or Altematively for a Stay Pending Further Proceedings Under New Rule
14-207.1 in an unrelated case Gee.s'ing v. W:'h'son (Circuit Court for Howard

County, Case No. 13-C~10~082594). See Exhibit 3.

. Neither Gem'ng’s signature on the deed of trust (ExhibitZ) nor the signature on

the Substitute Trustees’ Veriiied Response in 0pposition to Det`endants’
Emergency Request for Consideration ochfendants’ Renewal of Veriiied
Motion to Dismiss Plaintift's’ Foreelosure Action or A]tema,tively for a Stay
Pending Further Procwdings Under New Rule 14-207.1 (Exhibz`r 3) match the
signature on the Order to Docket filed against the Caseys and the Property
(Exhibl:‘ 1).

Upon information and beiief, the Order to Docket is bogus because someone other
than Geesing signed for him swearing the truth of certain facts and Moulton
fraudulently notarized_that Gwsing “personally appeared" before her end signed
the Affidavit of Deed of Trust Debt, Certitieation Regarding Debt lnstnunent, and
Affidnvit ofNon-Military Servioe in the Order to Doclnet. This belief is based
upon published reports concerning attorney mbc-signing practices in Mm'y¥and.
The Caseys have been damaged by Litton’s direct and indirect actions, including

those by its authorized substitute trustees and attorneys BGW, described herein

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.. Mw..

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through the improper commencement and prosecution of the foreclosure action
against them that has damaged their credit, cost them legal fees and expenses, and
emotional damages due to stress and other physical manifestations Upon
information and belief, Littcn has also charged the Caseys’ account with fees and
charges related to the illegal and bogus foreclosure filed against them.
MMW

63. This class action is brought by the Caseys on behalf of themselves and a Class of
all Maryland residents who were {i) an owner-occupant of residential property in
the State-of Maryland; (ii) subject to a foreclosure action docketed by Howard
Bierman, Jacob Geesing, or Carrie Ward on behalf ofLitton Lcan Servicing; and
(iii) during the foreclosure proceeding, I-Ioward Bierman, Carrie Ward, or Jacob
Geuing supported the forecicsure action through the filing of one or more bogus
documents This shall be referred to as the “Class”.

64. Named comer messrs sue on their own behalf and on behalf arise people
who comprise the Class under MD. R.ULE 2-231.

65. Named Counter Plaintiffs do not know the exact sine or identities ofthe proposed
Classes, since such information is in the exclusive control of Defendant. Upon
information and belief the Class encompasses more than 100 individuals based
upon public records filed in the circuit courts of the State cf Maryland and
reported by Litton and BGW to the Office of the Cornmissioner ofFinancial
Regulation.

66. All members of the Classs have been subject to and affected by the same conduct

The claims are based on the same actions There are questions of law and fact

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that are common to the Ciass, and predominate over any questions aE`eoting only

individual members of the _Class. These questions include, but are not limited to

the following:

R.

whether Litton’s foreclosure actions through
improper papers and aBidavits by its authorized substitute
trusteesfattorneys, BGW, have any legal eH`ect;

whether Defendant’s conduct through its authorized substitute
trustees/anomeys, BGW, amounts to “tmolean.hands”;

whether Defendant's conduct violates the Maryla.nd Consumer
Protection Act (“MCPA”), Mo CoDE ANN., CoM._LAw, § iS-IOI ,ETSEQ.;

whether Defeudant’s conduct violates the MARYLAND CONSUMER
Dea'r CoLLecnoN Ac'r (“MDCDCA”), MD CoDE ANN., CoM. Law, § 14-
ZOl,ErsEQ.;

whether Defendant's conduct violates the MARYLAND MORTGAGE

FRAUD PnsvermoN Ac'r (“MMFPA”), MD Coos ANN., REAL Paop., § 7- `

401,11.'1'3£9.,'

whether the Dcfendant should be enjoined from continuing to
pursue foreclosure actions directly or indirectly, in Marylaod based upon
bogus affidavits and papers;

whether the Defendant should be ordered to refund to Class all
legal fees and expenses assessed as part of the foreclosure action against
them;

the attorney fees, litigation costs, and court costs allowed and

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claimed in this civil action;
i. ` whether BGW’s actions were authorized by Marylmd cours~;
j. the declaratory relief sought in this civil action; and
ic. the injunctive relief sought in this civil action.

67. The claims of the Named Plaintift`s are typical cf the claims cf the class and do
nor consist with the seems ofmy`oarer members urine class in that both the
Named Plajntilfs and the other members of the class were subject to the same
conduct -

68. The Caseys’ claims are typical of the claims of members of the Class.

69. The Narned Plaintiffs are similarly situated with and have suffered similar
damages (identil`ied in 11 62) as the other members of the Class.

70. The Named Plaintiffs will fairly and adequately represent the interests of the
Class. They are committed to the vigorous prosecution of the class claims and
have retained attorneys who are qualilicd to pursue this litigation raid have
experience in class actions - in particular, consumer protection actions related to
Maryland’s foreclosure laws and procedures

71. A class action is superior to other methods for the fast and efficient adjudication
of this conn-oversy. A class action regarding the issues in this case does not create
any problems of manageabi]ity.

72. 'l`his putative class action meets all of the requirements ofRule 2-231.

73. The Defendant has acted or refused to act on grounds that apply generally to the
class so that final injunctive relief or corresponding declaratory relief is

appropriate respecting the class as a whole.

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74. It would not be economically feasible for each of the individual Class members to
maintain similar claims since many of them have already suffered §nancial
setbacks.

75. The damages of each individual Class member can be calculated using the same
common formulas and are similar in nature as those as the Caseys identitied in 11
62 above.

76. Failure to join the claims ofeach individual claimant into class claims would lead
to duplicate claims/litigation involving the same issues and lacts, excessive costs
and fees, burdens and potentially inconsistent outcomes.

77.. The common issues set forth above predominate and asserting the claims on a
class basis is superior to the alternative

COUNT ONE ~ VIOI..ATION OF MARYLAND’S CGNSUMER PROTECTION
AC'I‘, Mn. Cons ANN. CoM. an § 13-101 et. seq.
(INDIVIDUAL AND CLASS CLAIMS)

78. ‘I'he mortgage loan transactions and foreclosure practices as set forth herein of
the Defendant against the Narned Plainti£fs and Class members are governed by
the Ccnsumer Protection Act, MD. CODE ANN. COM. LAW § 13-101 er. seq.

79. Section 13-30_3 prohibits unfair or deceptive trade practices in the extension of
consumer credit or collection of consumer debts The prosecution of a
foreclosure action involves both the extension of credit and the collection of
debts.

SO. The Maryland Consumer Protection Act defines unfair or deceptive trade

practices to include, inter alia, the following (a) False, falsely disparaging, or

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misleading oral or written statement, visual description, or other representation of
any kind which has the capacity, tendency, or effect of deceiving or misleading
consignee and (b) anm-e to stare a marin fm iran failure wives or lends
to deceive.

81. By engaging in the acts and omissions set forth above, by making the
misrepresentations set forth above, and by failing to disclose material facts where
the failure to do so deceived or tended to deceive, the Defendant has committed
unlawliil or deceptive trade practices in violation of the Maryland Consqmer
Prore¢sen ncr see 13.301(1) and (3) and sea 13-303(4) (“MCPA”).

82. The Defendant’s conduct, as set forth above, had the capacity, tendency or effect
of deceiving the Caseys and other Class membe¢s, who in fact were deceived or
misled, causing injury and loss through:

a. the unfair or deceptive prosecution, based upon bogus papers and
ati'idsvits, of a foreclosure action by Defendant through its audiorizied
substitute tmstees!attomeys BGW; and

b. the Defendant's payment structure with BGW “infectecl” and
“exasperated” the use of bogus papers and foreclosure practices of BGW
since unless BGW met Litton’s goals, it could not receive future work.
Ho_)j$nan v. Stamper, 385 Md. l, 32, 867 A.2d 276, 294 (200$).

WHEREFORE, the Caseys request the following on their behalf and on behalf of

Class:

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A. They be awarded as part of this claim a Sum of no less than $5,0®,000 which
represents their compensatory damages as a result of the Defendant's, direct
and indirect, unfair or deceptive practices;

B. The Court certify the Class and appoint the Plaintiffs as class representatives
and their counsel as Class Counsel;

C. Class be awarded as part of all their claims a sum of no less than $1,000,000
subject to amendrnent, which represents the compensatory damages for the
Class;

D. 'l`he}r be awarded their reasonable attomey’s fees and costs; and

E. That their claim should include such other and timber relief as the Coutt
deems just and proper.

COUN'I` TWO: VIOLATION OF THE M.AR\’LAND CONSUMER DEBT
COLLECTION ACT, Mo. ANN. CooE, CoMM. LAw ART. § 14-202
(INnIvrnUAL m CLASS cLAIMs}

83. The Plaintiffs adopt by reference the allegations contained in paragraphs 1
through 82 of this Cornpiaint with the same effect as ifherein iillly set forth.

84. By authorizing the filing debt collection foreclosure proceedings andfor
conducting foreclosure actions based upon bogus or insufficient papers and
affidavits through its authorized substitute trustees/attomeys BGW, the Defendant
has asserted a claim with knowledge that the right does not exist in violation of
Md. Ann. Code, Comm. Law Art. § 14-202 (8).

85. The Caseys and Class seek a remedy under the Maryiand Consumer Debt

Collection Act {“M'DCA”) for damages, attorneys’ fees, and any other relief

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available against the Defendant.
WHEREFORE, the Caseys request the following on their behalf and on behalf of
the class:

A. They be awarded as part of this claim a sum of no less than $5,000,000
which represents their compensatory damages as a result of the
Defendant’s unfair or deceptive practices;

B. The Court certify the Class and appoint the Named Plaintiffs as class
representatives and their counsel as Class Counsel;

C. 'I'hey be awarded their reasonable attorney’s fees and costs;

D. That their claim should include such other and further relief as the Court
deems just and proper.

COUNT 'IHREE: M.A.RYLAND MORTGAGE FRAUD PROTECTION ACT, MD.

ANN. Cons, REAL Pnor. § 7-401 Mo. REAL Pnor., er seq.

(INDIV[DUAL AND CLASS CLAIMS)

86. The Plaintiffs adopt by reference the allegations committed in paragraphs 1
through 85 of these Counter Claims with the same effect as if herein fully set
forth.

37. The Maryland Mortgage Fraud Protection Act, Md. Ann. Code, R.eal Prop. § 7»
401 MD. REAL PROP., et seq. (“LMPA”) governs the relationship between the
Defendant and the Named Piaintiffs and Class members with transactions that
accrued since April 4, 2008.

88. MD ANN. CODE., REAL PROP. § 7-401 (c) provides: “Homeowner” means a record

owner of residential real property. The Plaintiffs and Class Membets are record

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owners of the residential properties in question and therefore are Homeowners.

89. MD ANN. CODB., RE,AL PRoP. § 7-401 (e) provides “Mortgage lending
process. ..includes [t]he.. . servicing . .ofa mortgage loan.”

90. Mo ANN. Coos., FrNANcmL INsrrrUrtoNs conn § l 1-501 (k)(l) provides:
“Mortgage loan” means any loan or other extension of credit that is: (i) Secured,
in whole or in part, by any interest in residential real property in Mary]and', and
(ii) lffor personal, household or family purposes, in any amoun .”

91. The MMFPA works to protect the interests of ali parties to mortgage issues in
Marylarrd from misstatements misrepresentations and omissions', in this instance
the MMFPA works to protect borrowers like the Caseys from mortgage
companies like the Defendant and ensure a level, fair playing field between all
borrowers and professionals

92. The Plaintifi`s and members of Class I were or are homeowners in the Mortgage
Lending Process as defined by the MMFPA since the actions in dispute in this
lawsuit involve the servicing of their residential mortgage loans as it relates to the
foreclosure action which is an attempt to collect a certain sum on the mortgage
transaction

93. MD ANN. CODB., RaAL PROP. § ?-401 (d) provides:

“Mortgage fraud” means any action by a person made with the intent to
defraud that invoives:

1. Knowingly making any deliberate misstatement,
misrepresentation or omission during the mortgage lending
process with the intent that the misstatement
misrepresentation or omission be relied on by a mortgage

lender, borrower or any other party to the mortgage lending
process;

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2. Knowingly using or facilitating the use of any deliberate
misstatement, misrepresentation, or omission during the
mortgage lending process with the intent that the
misstatement, misrepresentation, or omission be relied on
by a mortgage lender, borrower, or any other party to the
mortgage lending process.

3. Rcceiving any proceeds or any other funds in connection
with a mortgage closing that the person knows resulted
from a violation of item (l) or (2) of this section;

4. Conspiring to violate any provisions of item of (1), (2) or
(3) of this section.. .

94. The Defendant has committed Mortgage Fraud by:

a. Knowingly making, as described herein, deliberate misstatements,
misrepresentations and omissions during the mortgage lending process,
including the state court foreclosure actions it has commenced and carried
out, with the intent that the misstatements, misrepresentations and
omission be relied on by the Plaintifl` and Class Members (and the general
public);

b. Knowingly using or facilitating, as described herein, the use of `any
deliberate misstatements misrepresentations, and omissions during the
mortgage lending process, including the state court foreclosine acn'ons it
has commenced and carried out, with the intent that the misstatements,
misrepresentations, and omissions be relied on by the PiaintiH' and Class
Members.

95. Plaintii`f and the Class IMernbers have been damaged by the Defendant’s
deliberate misstatements, misrepresentations, and omissions during the mortgage
lending process as stated herein. As a result Plainti&` and Class Members have

been damaged by Litton’s commencement of foreclosure actions against them by

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providing the Plaintiff and Class Members with a condition precedent before the -
commencement of that lawsuit_i.e. a. valid affidavit
96. MD ANN. Com~;., RnAL PROP. CoDn. § 7-401 (g) provides:
Pattem of mortgage fraud means two or more incidents of mortgage fraud
that:
¢ Involve two or more residential real properties; and
¢ I-Iave similar intents, results, accomplices victims, or methods of
commission or otherwise are interrelated by distinguishing
characteristics
97. Upon information and belief the Defendant has engaged in a Pattern ofMortgage

Fraud by committing similar acts against two or more Maryland residential

properties with similar intents, results and methods of commission as that which

was committed by Litton against the Plaintifi`and Class I Members as described
herein.

WH`EREFORE, the Caseys request the following on their behalfand the Class:

A. They be awarded as part of their claims the sum of no less than $1,000,000
which represents their compensatory damages as a result of the Defendant’s
illegal practices and minepmmmnom;

B. The Cou.rt certify the Class and appoint the Plainh'ffs as class representatives
and their counsel as Class Counsel;

C. They be awarded willful and knowing damages up to three times the total

compensatory damages awarded.;

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D. They be awarded as part of the claim their reasonable attomey’s fees and
costs; and
E. That their claim should include such other and further relief as the Court
deems just and proper.
COUNT FIVE: DECLARATORY AND INJUNC'I‘IVE RELIEF
(INDIVIDUAL AND CLASS CLAIMS)

98. The Plainti£t`s adopt by reference the allegations contained in paragraphs 1
through 97 of this Complaint with the same effect as if herein fully set forth.

99. Plaintiffs seek a declaration of their rights, as well as the rights of the Class, with
respect to the state court foreclosure actions the Defendant has commenced based
upon bogus or insu&iciesit papers and ah'idavits through its authorized substitute
trustees/attorneys BGW.

100. An actual controversy exists as to whether Defendant’s foreclosure efforts
violate the MCPA, MDCA, MMFPC, and common law ofMa:yland.

101. Declau:atol'}r relief is appropriate pursuant to Ru]e 2‘231 and MD ANN.
ConE., CTs. & Jun. Pnoc., § 3-403.

202. Declaratory relief is also appropriate pursuant to R.ule 2-231(d) since
Plaint:ifi's seek to maintain this claim on behalf of the Class for the purpose of
determining and answering the issue of whether Litton has complied with Md.

Code Regs. 09.03.06.20 in regards to its foreclosure practices through BGW.

103. Plaintif£s are entitled to an injunction since the actions of Litton are
improper and illegai.
104. The public interest is served by enjoining the De£endant from continuing

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to violate the Maryland procedures, regulations and laws.

105. The public interest will be further served by mandating that Defendant is
responsible for the fast-track, illegal foreclosure practices of Defendants’
authorized substitute u'usteesfattorneys based upon bogus or insuiiieient papers
and etiidavits.

106. The foreclosures relate to the homes of the Plaintiii`s and other Class
members and will cause irreparable harm if the Defcndant is not enjoined.

107. The burden imposed on the Defendant by requiring it to comply with
Maryland foreclosure laws and related regulations concerning the servicing of
mortgage loans is substantially outweighed by the harm suffered by Plaintit’c`s and
Class members by allowing the Defendant to wrongfully foreclose and ignore Md. l
Code Regs. 09.03.06.20.

WHEREFORE, the Caseys request the following on their behalf and also on

behalf of members of Class:
A. Certify this case as a class action pursuant to Md. Rule 2-23!, with the

Named Plaintiifs as class representatives and their attorneys acting as

counsel on behalf of the Class described herein;

B. Order appropriate injunctive relief to rectify past violations of law and `;
to prevent further violations of law, including a temporary restraining
order, preliminary and permanent injunction on any foreclosure
actions currently pending or to be instituted against the Plaintitfs or

any members of the classes; and
C. Ordcr other appropriate declaratory relief.

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COUNT SIX - VIOLATION OF MARYLAND’S CONSUMER PROTECTION
ACT
(INDIVIDUAL CLAIMS)
108. ' The Plaintiffs adopt by reference the allegations contained in paragraphs
1 through 107 grass complaint with the same effect as irherein fully ser rural

109. 'Ihe mortgage loan transaction as set forth herein was governed by the
Consumer Protection Act, MD. CODE ANN. COM. LAW § 13-101 €I. seq.

l 10. Secticn 13-303 prohibits unfair or deceptive trade practices in the
extension of consumer credit or collection of consumer debts. lt is both unfair
and deceptive for a Maryland licensed mortgage servicer to not meaningfully
comply with Md. Code Regs. 09.03.06.20 concerning Plaintiffs’ multiple requests
to modify their loan and receive a proper accounting of the loan.

1 l l. The Maryland Consumer Protection Act defines unfair or deceptive trade
practices to include, inter alia, the following: (a) False, falsely disparaging, or
misleading oral or written statement, visual description, or other representation of
any kind which has the capacity, tendency, or effect of deceiving or misleading
consumers; and (b) Failure to state a material fact if the failure deceives or tends
to deceive.

112. By engaging in the acts and omissions and misrepresentations set forth
above including those identified in 3,24-3 0,41,44-57, & 62, and by failing to
disclose material facts where the failure to do so deceived or tended to deceive,

the Defendant has committed unlawful or deceptive trade practices in violation of

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the Maryland Consumer Protection Act. Scc. 13-301(1) and (3) and Scc. 13-

303(4) (“MCPA”).

ll3.

The Defendant’s conduct, as set forth above, had the capacity, tendency or

effect of deceiving the Caseys causing injury and loss through:

H.

the failed opportunity to pay-off their loan for a true and accurate amount
from Litton and obtain a lower, market interest rate from R.egal Bank,'
damage to their credit by Litton’s utter failure to ever consider in good
faith providing the Caseys with a modification andfor resolution of the
mortgage situation and just simply ignoring the Caseys many efforts to
resolve the issues identified by the Caseys;

the failure to comply with Md. Code Regs. 09.03.06.20 and meaningfully
consider the Caseys for any modiiication of their loan. Through this act
Litton wrongfully sabotaged and short/changed the Plaintiifs in violation of
its responsibilities intended for their benefit; and

subjecting the Caseys to premature foreclosure proceedings which were
improperly commenced (andfor carried out by the Defendant or its agents
on its behalt) and are now reported on their credit reports before
Defendant complied with Md. Code Regs. 09.03.06.20.

WHEREFORE, the Caseys request the following on their behalf:

A.

They be awarded as part of this claim a sum of no less than $200,000

which represents their compensatory damages as a result of the Defendant’s

unfair or deceptive practices;

B.

They be awarded their reasonable attorney’s fees and costs; and

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C. That their claim should include such other and further relief as the Court
deems just and proper.

COUNT SEVEN: VIOLATION OF THE MARYLAND CONSUMER DEBT

COLLECTION AC'I`
(INDIVIDUAL CLAIMS}

114. The PlaintiHs adopts by reference the allegations contained in paragraphs
l through 113 of this Complaint with the same effect as if herein lirlly set forth.

115. By engaging in the acts and omissions and misrepresentations set forth
above including those identined in 3,24-30,41,44-57, 62 & 113, as well as failing
to meaningfully comply with Md. Code Regs. 09.03.06.20, before commencing
and then continuing to claim the right of a foreclosure action against the Caseys
and the Property, the Defendant has asserted a claim with knowledge that the right
does not exist in violation of Md. Ann. Code, Comm. Law Art. § 14-202 (8).

l 16. The Caseys seek a remedy under the Maryland Consumer Debt Collection
Act (“MDCA”) for damages, attomeys’ fees and any other relief available against
the Defendant.

WHER.EFOR.E, the Caseys request the following on their behalf and on behalf of
the class:
A. They be awarded as part of this claim a sum of no less than $200,000
which represents their compensatory damages as a result of the
Defendant’s unfair or deceptive practices;

B. They be awarded their reasonable attorney’s fees and costs;

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C. That their claim should include such other and further relief as the Court

deems just and proper.
COUNT EIGHT: MARYLAND MORTGAGE FRAUD PROTECTION ACT

(H'JDIVIDUAL CLAIMS)

117-. 'I`hc Plaintiffs adopt by reference the allegations contained in paragraphs
l through 116 of this Complaint with the same eH`ect as if herein iizlly set fortb.

l 18. The Maryland Mortgage Fraud Protection Aet, § 7-401 MD. REAL PROP.,
er seq. (“MMFPA”) governs the relationship between the Defendant and the
Plaintiffs.

119. MD ANN. CODE., RBAL PRGP. § 7-401 (e) provides: “Homeowner" means a
record owner of residential real property. The Plaintiffs are record owners of the
residential properties in question and therefore are Homeownets.

120. MD ANN. CODE., RBAL PROP. § 7401 (e) provides “Mortgage lending
proms.. .includes [t]he solicitation, application, origination, negotiation,
servicing, underwriting signing, closing and funding of a mortgage loan.”

121. MD' ANN. Coca., FrNANcmL INs'nrtmoNs cona. § 11-501 (k)(l) provides:
“Mortgage loan” means any loan or other extension of credit that is: (i) Secured,
in whole or in part, by any arter-est in residential real property in Maryland; and
(ii) lf for personal, household or family pnrposes, in any amount.”

122. 'l`he MMFPA works to protect the interests of all parties to mortgage
issues in Maryland from misstatements misrepresentations and omissions; in this
instance the MMFPA works to protect borrowers like the Caseys from mortgage

companies like the Defendant and ensure a level, fair playing field between all

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borrowers and professionals

123. The Plain:tiii`s were or are homeowners in the Mortgage Lending Process
as defined by the MPA since the actions in dispute in this lawsuit involve the
servicing of their residential mortgage loans.

124. MD ANN. CODB., RBAL PROP. § 7-401 (d} provides:

“Mortgage ii'aud” means any action by a person made with the intent to
defraud that involves:

I. Knowingly making any deliberate misstatement,
misrepresentation or omission during the mortgage
lending process with the intent that the misstatemmt,
misrepresentation or omission be relied on by a mortgage
lender, borrower or any other party to the mortgage
lending process;

2. Knowingly using or facilitating the use of any
deliberate misstatement, misrepresentation, or omission
during the mortgage lending process with the intmt that
the misstaternent, misrepresentation, or omission bc
relied on by a mortgage lender, borrower, or any other
party to the mortgage lending prooess.

3. Receiving any proceeds or any other funds in
connection with a mortgage closing that the person
knows resulted from a violation of itel (1) or (2) of this

seetion;
4. Conspiring to violate any provisions of item of (1),
(2) or (3) of this section. ..
12$. The Dei`endant has committed Mortgage Fraud by:

a. K.nowingly making as described herein, deliberate misstatements,
misrepresentations and omissions during the mortgage lending process,
including the state court foreclosure actions it has commenced and carried
out, with the intent that the misstatements, misrepresentations and

omission be relied on by the Plaintift`s;

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b. Knowingly using or facilitating as described herein, the use of any
deliberate misstatements, misrepresentations, and omissions during the
mortgage lending process, including modification of horne mortgagee and
the state court foreclosure actions it has commenced and carried out, with
the intent that the nnsstatements, misrepresentations, and omissions be
relied on by the Plaintifi`s.

126. maintain have beat damaged hymenefenaanrs deliberate
rnisstatecnents, misrepresentations, and omissions during the mortgage lending
process as stated herein including those identified in identified in 3,24-30,41,44-
57, 62 & 113, as Well as failing to meaningfully comply with Md. Code Regs.
09.03.06.20

127. Mo ANN. CoDI-:., REAL PaoP. Coos. § 7-401 (g) provides:

Pattern of mortgage fraud means two or more incidents of mortgage ii'aud

that
o lnvolve two or more residential real properties‘, and
o Have similar intents, results, accomplices, victims, or methods of

commission or otherwise are interrelated by distinguishing
characteristics
123. Upon information and belief the Defendant has engaged in s Pattern of
Mortgage Fraud by committing similar acts against two or more Maryland
residential properties with similar intents, results and methods of commission as
that which was committed by Litton against the Plaintiffs as described herein this

claim

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WI'IEREFORE, the Caseys request the following on their behalf:

A. 'I'hey be awarded as part of their claims the sum of at last $200,000,
subject to amendment, which represents their compensatory damages as a result
of the Defendant’s illegal practices and misrepresentations;

B. They be awarded treble damages for the Defendants knowing and willful
acts against the Piaintifl"s;

C. They be awarded as part of the claim their reasonable attomey’s fees and
costs; and

D. That their claim should include such other and timber relief as the Court

deems just and proper.

COUN'I` N[NE: CONTRACT
(INDIV[DUAL CLAIMS)
129. Tlie Plaintifi"s adopt by referllce the allegations contained in paragraphs
l through 128 of this Compiaint with the same effect as if herein fully set forth.

130. Defendant is obligated by contract, statutory, and common law to act in
good faith and to deal fairly with each borrower.

131. The contractual duty of good faith and fair dealing in Maryland “’prohibits
one party to a contract from acting in such a manner as to prevent the other party
from performing his obligations under the contract.’... ln short, while the implied
duty of good faith and fair dealing recognized in Maryland requires that one party
to a contract not hustrate the other party's performance, it is not understood to
interpose new obligations about which the contract is silent, even if inclusion of

the obligation is thought to be logical and wise. An implied duty is simply a

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recognition of conditions inherent in expressed promises.” B!ondell v. Littlepage,
413 Md. 95, 114, 991 A.2d 80, ‘.90m 91 (Md.,ZGlO)(iutemal citations omitted).
132. Defendant routinely and regularly breached its duty of care owed to the
Caseys by:
a. failing to perform loan servicing functions consistent
with its responsibilities to Plaintiffs;
b. failing to properly supervise its agents and employees including,
without limitation, its loss mitigation and collection personnel and its
foreclosin'e attorneys;

c. failing to provide accurate payoff statements;

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d. routinely demanding information already in its iiles;

e. making inaccurate calculations and determinations of Plaintiifs’
eligibility for a modificadion;

f. failing to follow through on written, oral, and impiied promises;
g. failing to follow through on contractual obligations; and/or

h. failing to give the Caseys a permanent modification and

 

other foreclosure alternatives

WHEREFORE, the Caseys request the following on their behalf:

ila They be awarded as part of their claims the sum of $200,000 which
represents their compensatory damages as a result of the Defendant’s
illegal practices and misrepresentations;

B. They be awarded as part cf the claim their reasonable attomey’s fees

and costs; and

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C. 'I`hat their claim should include such other and further relief as the

Court deems just and proper.

Respectf`l.tlly Submit‘ted,

    

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DEMAND FOR JURY TRIAL

Plaintit`fs prays for a trial by jury on all claims and factual disputes described herein

Respectfully Submitted,

 

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